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                       IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

   UNITED STATES OF AMERICA,
                                                  FELONY INFORMATION
          Plaintiff,

          vs.                                     COUNT I: 18 U.S.C. § 922(a)(1)(A)
                                                  Dealing in Firearms Without a License
   SIOSIFA POUILIEVA LAVULAVU,
                                                  Case: 2:22−cr−00096
          Defendant.                              Assigned To : Nielson, Howard C., Jr
                                                  Assign. Date : 3/16/2022
                                                  Description: USA v. Lavulavu


        The United States Attorney charges:

                                         COUNT I
                                 18 U.S.C. § 922(a)(1)(A)
                          (Dealing in Firearms Without a License)

       Between the dates of approximately February 1, 2020, and January 21, 2022, in the

District of Utah,

                            SIOSIFA POUILIEVA LAVULAVU,

defendant herein, not being a licensed dealer of firearms within the meaning of Chapter 44,

Title 18, United States Code, did willfully engage in the business of dealing in firearms;

All in violation of 18 U.S.C. Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
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ANDREA T. MARTINEZ
United States Attorney


 /s/ Jamie Z. Thomas
JAMIE Z. THOMAS
Assistant United States Attorney




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